Case 1:20-cv-08786-GHW Document 41-3 Filed 02/19/21 Page 1 of.23 04/05/2019
K&S

22-19 160 Street
Whitestone, NY 11357

Telephone : 718)767-2808 Fax: 347)438-1053

Ship To: #1 TEB 100 BROAD STREET LLC (ESSEN) From : To*
#100 Broad st :

NY, NY 10004
212) 943-0100

 

03/31/2019 04/05/2019

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Shipped Amont Payment
03/31 Sunday 0.00 0.00
04/01 Monday 3984.00 0.00
04/02 Tuesday 3216.70 0.00
04/03 Wednesday 3410.20 0.00
04/04 Thursday 3333.90 0.00
04/05 Friday 3108.70 13814.70
Shipped Total 17053.50 Paid Total 13814.70
Delivery Charge 0.00 Credit Memo
Credit 0.00 =
lesieneniieateaetenienienianteienientetatesinietteataetates Date +/- Oty Item Price Amount
Sub-Total (4) ‘E7OBS.50 8 wmeee ewe
Prev.Balance(+) 133,985.20 04/02 + 1 bkbe cr-21.3 0.00 0.00
Payment 13,814.70 Credit Total 0.00
Current Balance 137,224.00
AR Aging Report Current Balance 137,224.00
Ist Week 17,053.50 Received Amount (-)
2nd Week 1,922.40 This Week Balance
3rd Week & Over 118,248.10 Received By
Paid By

 

 

 

 

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.

All interest, costs, attorney's fees due seller shall be considered sums owing in connection with this transaction uner the PACA trust.
K&S Case 1:20-cv-08786-GHW Document 41-3 Pied OZIBW@n286Rage 2 OfF3: 347)438-1053

 

 

 

 

 

 

 

INVOICE

ShipTo: # 1TEB 100 BROAD STREET LLC(ESSEN) Invoice No. 328109

#100 Broad st

NY, NY¥ 10004 Date 04/01/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
GRANNY SMITH 80 USA 2 41.00 82.00 | SQUASH YELLOW YEL MEX 1: 2:3...00 13.00
GALA APPLE 80 USA 1 40.00 40.00] GARLIC JAR JBOX USA 1 32.00 32.00
STAR RUBY c USA 1 32.00 32.00 | SHANGHAI BOKCHOY SH/BK USA 1 22.00 22.00
SEEDLESS GREEN GR USA 1, 32.00 32.00 | MUSHROOM WASH 10LB USA 1 17.00 17.00
KIWI LOOSE LLOO USA 1 20.00 20.00 | MUSH SPECIAL 10SP USA 4 17.50 70.00
WATERMELON SEED USA 1 37.00 37.00 | PORTABELLA MUS M PO#2 USA 2 9.50 19.00
HONEY DEW Cc USA 1 10.00 10.00 | YAM #1 YAM USA 1 22.00 22.00
JUICE ORANGE 100 USA 2 19.00 38.00} EGGPLANT Cc USA 1 14.00 14.00
SUNKIST ORANGE 56 USA 2 33.00 66.00 | EGGPLANT ITALIAN ITAL USA 1 12.00 12.00
LEMON SK SK/L USA 1 28.00 28.00 | POTATO IDAHO 90 USA 2 23.00 46.00
STRAWBERRY CAL USA 10 24.00 240.00] POTATO RED A BOX BOX A USA 1. 22.00 22.00
RASPBERRY A USA 7 32.00 224.00] CARROT LOOSE LOOSE USA 1 22.00 22.00
BLUEBERRY A USA 7 28.00 196.00 | ONION SPANISH SPI USA 2 21.00 42.00
BLACKBERRY A USA 4 20.00 80.00 | ONION RED RD-J USA 2 18.00 36.00
AVOCADO HASS# RIPE MEX 8 49.00 392.00] TOFU s USA i 23.50 13.50
PAPAYA BIG BOX RED MEX 1 24.00 24.00 | PINE GOLDEN GOL USA 4 14.00 56.00
MANGO RIPE M/RIP MEX 15 10.50 157.50] BANANA BNA ECU 3 17.00 51.00
TOMATO #1 5X6 USA 1 14.00 14.00 | PLANTAIN YELLOW c ECU 1 26.00 £26.00
TOMATO PLUM c MEX 1 14.00 14.00 | MESCLUN SALAD MESC USA 20 7.00 140.00
TOMATO CHERRY Cc USA 2 16.00 32.00 | EGG EX/LOOSE EXLOO USA 7 28.00 196.00
TOMATO GRAPE R USA 2 10.00 20.00 | HERBS ROSEMARY ROSE CHL 1 7.50 7.50
TOMATO GRAPE YE USA 1 24.00 24.00] YUKON A BOX ¥ ABO USA 1 34.00 34.00
TOMATILLO ORG MEX 1 11.00 11.00} SCALLION KING USA 2 13.00 26.00
LETTUCE . ICEBERG A USA 1 22.00 22.00
ROMAINE CA-A USA 2 21.00 42.00
CABBAGE GR GR USA 1 19.00 19.00
CAULIFLOWER c USA 2 18.00 36.00
BROCCOLI CROWN CROW USA 4 20.00 80.00
RABE ANDY USA 2 35.00 70.00
ASPARAGUS LG USA 3 14.00 42.00
CELERY c USA 2 71.00 142.00
SPINACH BUSH USA 1 22.00 22.00
SPINACH BABY BA/SP USA 10 6.50 65.00
GREEN KALE KALE USA 3 16.00 48.00
STRINGBEAN BEAN USA 1 18.00 18.00
SNOWPEA A USA 1 15.00 15.00
BRUSSEL SP LOOSE USA 2 37.00 74.00
SHALLOT JAR/5LB SJ#5 USA ‘1 9.50 9.50 Total Boxes: 190.0
RADICCIO. . RD/CO USA 1 13.00 13.00 Delivery $ : 247.00
BABY ARRUGULA B/AR USA 8 10.50 84.00
CILANTRO c USA 2 17.00 34.00 Shipment : 3,984.00
BEETS 25LB LBAG CAN 1 12.00 12.00| ----------------------------------------------
PEPPER GREEN GR USA 1 24.00 24.00
PEPPER RED RED USA 2 20.00 40.00 Cash Receipt:
YELLOW PEPPER YELL USA 1 15.00 £5.00 | SS SSS rhs Se SSeS ot SSeS ere
JALAPINO JALPN HOL 1 16.00 16.00
CUCUMBER CUM MEX 2 15.00 30.00 Signature :
SQUASH GREEN GR USA 1 12.00 12.00
Printed on Oct 12, 2020 **e*** Balance : 133,985.20

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 3(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S

Case 1:20-cv-08786-GHW Document 41-3 Hibad:02/@pbbsdaage 3 0FZ3 347)438-1053
INVOICE

 

 

 

 

 

 

 

ShipTo: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 328157
#100 Broad st
NY, NY 10004 Date 04/02/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
RED EX FANCY 80 USA 1 32.00 32.00} PORTABELLA MUS M PO#2 USA 3 9.50 28.50
GRANNY SMITH 80 USA 1 41.00 41.00 | POTATO IDAHO 90 USA 2 23.00 46.00
GALA APPLE 80 USA 1 38.00 38.00 | CARROT LOOSE LOOSE USA 2 22.00 44.00
SEEDLESS GREEN GR USA 1 32.00 32.00] ONION SPANISH SPI USA 2 21.00 42.00
SEEDLESS RED RED USA 1 24.00 24.00} ONION RED RD-J USA 2 18.00 36.00
NECTARINE CALI c USA 1 24.00 24.00 | TOFU s USA 1 13.50 13.50
CANTALOUP c USA 1 13.00 13.00 | PINE GOLDEN GOL USA 4 14.00 56.00
HONEY DEW c USA 1 10.00 10.00} BANANA BNA ECU 3 17.00 51.00
JUICE ORANGE 100 USA 2 19.00 38.00 | MESCLUN SALAD MESC USA 14 7.00 98.00
SUNKIST ORANGE 56 USA 2 33.00 66.00 | EGG EX/LOOSE EXLOO USA 6 28.00 168.00
STRAWBERRY CAL USA 6 21.00 126.00] SCALLION KING USA 2 12.00 24.00
RASPBERRY A USA 5 32.00 160.00] SQUASH BUTTERNUT BUTN USA 1 24.00 24.00
BLUEBERRY A USA 5 21.00 105.00
AVOCADO HASS# RIPE MEX 8 50.00 400.00
PAPAYA BIG BOX RED MEX 1 24.00 24.00
MANGO RIPE M/RIP MEX 10 10.50 105.00
LIME 48 MEX 1 13.00 13.00
TOMATO #1 5x6 USA 2 14.00 28.00
TOMATO PLUM Cc MEX 2 13.00 26.00
TOMATO CHERRY 3 USA 1 16.00 16.00
TOMATO GRAPE R USA 1 10.00 10.00
LETTUCE . ICEBERG A USA 1 20.00 20.00
ROMAINE CA-A USA 4 19.00 £76.00
FLOWER ORCHID 100 USA 0 0.00 0.00
BROCCOLI CROWN CROW USA 3 19.00 57.00
RABE ANDY USA 1 35.00 35.00
ASPARAGUS LG USA 3 15.00 45.00
CELERY Cc USA 1 72.00 72.00
SPINACH BUSH USA 1 22.00 22.00
SPINACH BABY BA/SP USA 12 6.50 78.00
GREEN KALE KALE USA 2 16.00 32.00
SUGAR SNAPEA SNAP PER 1 24.00 24.00
ALFALFA cUP USA 1 12.00 12.00
BRUSSEL SP LOOSE USA 2 37.00 74.00
RADICCIO.. RD/CO USA 1 12.00 12.00] Credit 21.30
MINT A USA 1 14.00 14.00
BASIL A USA 1 20.00 20.00
BABY ARRUGULA B/AR USA 8 10.50 84.00 Total Boxes: 160.0
BEETS 25LB LBAG CAN i 12.00 12.00 Delivery $ 2086.00
PEPPER GREEN GR USA 2 24.00 48.00
PEPPER RED RED USA 3 21:00 63.00 Shipment 3,216.70
YELLOW PEPPER YELL USA 2 18.00 = 36.00 | Hr rrr nnn nmr nn nnn nnn nnn nnn nnn nnn nnn nn nnn nnn
CUCUMBER CUM MEX 2 17.00 34.00
SQUASH GREEN GR USA 1 12.00 12.00 Cash Receipt:
SQUASH YELLOW YEL MEX 1 16.00 LGD | sree rere rrr ee en
GARLIC JAR JBOX USA 1 32.00 32.00
MUSHROOM WASH 10LB USA 4 247.00 68.00 Signature
MUSH SPECIAL 10SP USA 4 17.50 70.00
Printed on Oct 12, 2020 ***k** Balance : 137,969.20

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural

commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S

Case 1:20-cv-08786-GHW Document 41-3 Pike O4haHerosigage 4 O23. 347)438-1053
INVOICE

 

 

 

 

 

 

ShipTo: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 328223
#100 Broad st
NY, NY 10004 Date 04/03/2019
Item Type Origin QTY Price _ Amount | Item Type Origin QTY Price Amount
GRANNY SMITH 80 USA 2 41.00 82.00] MUSH SPECIAL 10SP USA 3 17.50 52.50
GALA APPLE 80 USA 1 38.00 38.00 | PORTABELLA MUS M Po#2 USA 4 9.50 38.00
STAR RUBY Cc USA 1 32.00 32.00 | EGGPLANT c USA iL. 15.00 15.00
SEEDLESS RED RED USA 1 24.00 24.00 | POTATO IDAHO 90 USA 2 23.00 46.00
KIWI LOOSE LLOO USA 1 20.00 20.00] POTATO RED A BOX BOX A USA 1 22.00 22.00
WATERMELON SEED USA 1 37.00 37.00 | CARROT LOOSE LOOSE USA 2 22.00 44.00
HONEY DEW c USA 1 10.00 10.00 | ONION SPANISH SPI USA 2 20.00 40.00
JUICE ORANGE 100 USA 2 19.00 38.00 | ONION RED RD-J USA 2 18.00 36.00
SUNKIST ORANGE 56 USA 2 33.00 66.00 | PINE GOLDEN GOL USA 4 14.00 56.00
LEMON SK SK/L USA 1 28.00 28.00 | BANANA BNA ECU 3 17.00 51.00
STRAWBERRY CAL USA 8 22.00 176.00] CIDER 1/2G USA 1 27.00 27.00
RASPBERRY A USA 4 30.00 120.00] MESCLUN SALAD MESC USA 16 7.00 112.00
BLUEBERRY A USA 7 18.00 126.00| EGG EX/LOOSE EXLOO USA 6 28.00 168.00
BLACKBERRY A USA 4 24.00 96.00} SCALLION KING USA 1 12.00 12.00
AVOCADO HASS# RIPE MEX 8 55.00 .440.00
PAPAYA BIG BOX RED MEX 1 24.00 24.00
MANGO RIPE M/RIP MEX 10 10.00 100.00
TOMATO #1 5X6 USA 3 14.00 42.00
TOMATO PLUM Cc MEX 2 14.00 28.00
TOMATO CHERRY c USA 1 16.00 16.00
TOMATILLO ORG MEX 1 11.00 11.00
ROMAINE CA-A USA 3 19.00 57.00
CABBAGE GR GR USA 1 19.00 19.00
CAULIFLOWER USA 2 17,00 34.00
BROCCOLI CROWN CROW USA 3 20.00 60.00
RABE ANDY USA 1 35.00 35.00
ASPARAGUS LG USA 3 15.00 45.00
SPINACH BUSH USA 1 22.00 22.00
SPINACH BABY BA/SP USA 12 6.50 78.00
GREEN LEAF GR USA 1 17.00 17.00
GREEN COLLARD COALD USA 1 16.00 16.00
GREEN KALE KALE USA 4 15.00 60.00
STRINGBEAN BEAN USA 1 16.00 16.00
BRUSSEL SP LOOSE USA 1 36.00 36.00
BABY ARRUGULA B/AR USA 6 10.00 60.00
PARSLEY PLAIN FULL USA 1 22.00 22.00
CILANTRO c USA E LFsG0 17.00
BEETS 25LB LBAG CAN 1 12.00 12.00 Total Boxes: 169.0
PEPPER GREEN GR USA 2 26.00 52.00 Delivery $ 219.70
PEPPER RED RED USA 3 22.00 66.00
YELLOW PEPPER YELL USA 2 15.00 30.00 Shipment 3,410.20
JALAPINO JALPN HOL 1 16.00 16.00 | ---nn nnn nnn nnn nnn nnn nnn nnn nnn nnn nnn nnn nnn nnn
CUCUMBER CUM MEX 2 16.00 32.00
SQUASH GREEN GR USA 1 12.00 12.00 Cash Receipt:
SQUASH YELLOW YEL MEX 1 17.00 1.00 | Sea e cee SSS SS SSS
GARLIC JAR JBOX USA 1 30.00 30.00
GINGER C30 USA 1 22.00 22.00 Signature
MUSHROOM WASH 10LB USA 2 17.00 34.00
Printed on Oct 12, 2020 ekekkeee Balance : 141,185.90

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural

commodities act, 1930(7 U.S.C, 49%(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S

Case 1:20-cv-08786-GHW Document 41-3  Piikad 02(2%@toghRage 5 of Z3.
INVOICE

347)438-1053

 

 

 

 

 

 

Ship To: # I1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. S23 312
#100 Broad st
NY, NY 10004 Date 04/04/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
RED EX FANCY 80 USA 1 30.00 30.00 | EGGPLANT ITALIAN ITAL USA 1 14.00 14.00
GRANNY SMITH 80 USA 2 41.00 82.00] POTATO IDAHO 90 USA 2 23.00 46.00
STAR RUBY ce USA 1 32.00 32.00 | POTATO RED A BOX BOX A USA 1 22.00 22.00
SEEDLESS RED RED USA 1 24.00 24.00 | CARROT LOOSE LOOSE USA 1 22.00 22.00
NECTARINE CALI Cc USA 1 24.00 24.00] ONION SPANISH SPI USA 2 20.00 40.00
WATERMELON SEED USA LE 37,00 37.00] ONION RED RD-J USA 2 18.00 36.00
CANTALOUP c USA 1 14.00 14.00] PINE GOLDEN GOL USA 5 14.00 70.00
JUICE ORANGE 100 USA 2 19.00 38.00 | BANANA BNA ECU 2 17.00 34.00
SUNKIST ORANGE 56 USA 3 33.00 99.00 |} MESCLUN SALAD MESC USA 16 7.00 112.00
STRAWBERRY CAL USA 6 20.00 120.00] EGG EX/LOOSE EXLOO USA 6 28.00 168.00
RASPBERRY A USA 4 32.00 128.00] YUKON A BOx Y ABO USA 1 34.00 34.00
BLUEBERRY A USA 5 22.00 110.00] SCALLION KING USA 2 12.00 24.00
AVOCADO HASS# RIPE MEX 7 $58.00 406.00
PAPAYA RED RIPE RIPE MEX 1 24.00 24.00
MANGO RIPE M/RIP MEX 10 10.00 100.00
TOMATO #1 5X6 USA 2 14.00 28.00
TOMATO PLUM Cc MEX 2 14.00 28.00
TOMATO CHERRY c USA 2 16.00 32.00
TOMATO GRAPE R USA 4 10.00 40.00
TOMATO GRAPE YE USA 1 19.00 19.00
ROMAINE CA-A USA 4 19.00 76.00
FLOWER ORCHID 100 USA 2 15.00 30.00
BROCCOLI CROWN CROW USA 3 22.00 66.00
RABE ANDY USA 1 35.00 35.00
ASPARAGUS LG USA 3 15.00 45.00
CELERY Cc USA 1 72.00 72.00
SPINACH BUSH USA 1 21.00 21.00
SPINACH BABY BA/SP USA 12 6.50 78.00
GREEN LEAF GR USA 1 16.00 16.00
GREEN KALE KALE USA 2 15.00 30.00
STRINGBEAN BEAN USA 1 17.00 17.00
ALFALFA CUP USA 1 12.00 12.00
BRUSSEL SP LOOSE USA 2 37.00 74.00
RADICCIO.. RD/CO USA 1 12.00 12.00
BASIL A USA 1 20.00 20.00
BABY ARRUGULA B/AR USA 8 10.00 80.00
BEETS 25LB LBAG CAN 2 12.00 24.00
PEPPER GREEN GR USA 2 29.00 58.00 Total Boxes: 163.0
PEPPER RED RED USA 2 24.00 48.00 Delivery $ 211.90
YELLOW PEPPER YELL USA 2 15.00 30.00
CUCUMBER CUM MEX 2 15.00 30.00] Shipment 3,333.90
SQUASH GREEN GR USA 1 14.00 14,00 | =-S Ss Scceeee See eee
SQUASH YELLOW YEL MEX 1 17.00 17.00
GARLIC JAR JBOX USA 1 30.00 30.00 Cash Receipt:
SHANGHAI BOKCHOY SH/BK USA 1 24.00 24.00] ----------------------------------------------
MUSHROOM WASH 10LB USA 2 17.00 34.00
MUSH SPECIAL 10SP USA 4 17.50 70.00 Signature
YAM #1 YAM USA 1 22.00 22.00
Printed on Oct 12, 2020 ke*keee Balance : 144,596.10

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural

commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
 

 

 

 

 

 

 

K&S Case 1:20-cv-08786-GHW Document 41-3 biEd OAAWed gRage 6 of,23. 347)438-1053
INVOICE
ShipTo: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 328358
#100 Broad st
NY, NY 10004 Date 04/05/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
GRANNY SMITH 80 USA 2 42.00 84.00] CARROT LOOSE LOOSE USA 1 22.00 22.00
GALA APPLE 80 USA 1 38.00 38.00] ONION SPANISH SPI USA 2 20.00 40.00
STAR RUBY c USA 1 32.00 32.00] ONION RED RD-J USA 1 18.00 18.00
SEEDLESS GREEN GR USA 1 33.00 33.00] PINE GOLDEN GOL USA 5 15.00 75.00
SEEDLESS RED RED USA 1 24.00 24.00 | BANANA BNA ECU 4 17.00 68.00
KIWI LOOSE LLOO USA 1 20.00 20.00 |) MESCLUN SALAD MESC USA 17 7.00 119.00
WATERMELON SEED USA 2 39.00 78.00] EGG EX/LOOSE EXLOO USA 6 28.00 168.00
HONEY DEW c USA 1. 10.06 10.00 | MONEY PICK UP sss 0 0.00 0.00
JUICE ORANGE 100 USA 5 19.00 95.00 | SCALLION KING USA 2 12.00 24.00
SUNKIST ORANGE 56 USA 4 33.00 132.00
LEMON SK SK/L USA 1 28.00 28.00
STRAWBERRY CAL USA 8 18.00 144.00
RASPBERRY A USA 7 34.00 238.00
BLUEBERRY A USA 7 26.00 182.00
BLACKBERRY A USA 2 24.00 48.00
AVOCADO HASS# RIPE MEX 4 58.00 232.00
PAPAYA BIG BOX RED MEX 1 24.00 24.00
MANGO RIPE M/RIP MEX 10 9.00 90.00
TOMATO #1 5X6 USA 2 14.00 28.00
TOMATO GRAPE R USA 2 10.00 20.00
LETTUCE . ICEBERG A USA 1 18.00 18.00
ROMAINE CA-A USA 3 19.00 57.00
CAULIFLOWER Cc USA 1 17.00 17.00
BROCCOLI CROWN CROW USA 3 19.00 57.00
RABE ANDY USA 0 0.00 0.00
ASPARAGUS LG USA 3 15.00 45.00
SPINACH BUSH USA 1 21.00 21.00
SPINACH BABY BA/SP USA 8 6.50 52.00
GREEN COLLARD COALD USA 1 16.00 16.00
ALFALFA CUP USA 1 12.00 12.00
BRUSSEL SP LOOSE USA 1 36.00 36.00
SHALLOT JAR/5LB SJ#5 USA 1 9.50 9.50
RADICCIO.. RD/CO USA 1 22.00 12.00
BASIL A USA 1 20.00 20.00
BABY ARRUGULA B/AR USA 8 10.00 80.00
CILANTRO c USA 1 OG 17.00
PEPPER GREEN GR USA 1 34.00 34.00
PEPPER RED RED USA 1 25.00 25.00 Total Boxes: 154.0
YELLOW PEPPER YELL USA 2 14.00 28.00 Delivery $ 200.20
JALAPINO JALPN HOL 1 15.00 15.00
CUCUMBER CUM MEX 1 215.00 15.00 Shipment 3,108.70
SQUASH GREEN GR USA 1 14.00 14.00 | ----------------------------------------------
GARLIC JAR JBOX USA 1 30.00 30.00
MOO € USA 1 20.00 20.00 Cash Receipt:
MUSHROOM WASH 10LB USA 1 17.00 17.00 | --SSSaso- Ha oheneeeee ess ee ese shoas=-
MUSH SPECIAL 10SP USA Ss L750 52.50
PORTABELLA MUS M PO#2 USA 3 9.50 28.50 Signature
POTATO IDAHO 90 USA 2 23.00 46.00
Printed on Oct 12, 2020 eexkek* Balance : 147,930.00

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
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_Case 1:20-cv-08786-GHW Document 41-3 Filed 02/19/21 Page 7 @f3 04/12/2019
K&S

22-19 160 Street
Whitestone, NY 11357

 

Telephone : 718)767-2808 Fax: 347)438-1053
Ship To: #1 TEB 100 BROAD STREET LLC (ESSEN) From : To:
#100 Broad st :
NY, NY 10004 04/07/2019 04/12/2019

212) 943-0100

 

 

 

 

 

Shipped Amont Payment

04/07 Sunday 0.00 0.00
04/08 Monday 4336.90 0.00
04/09 Tuesday 3970.40 0.00
04/10 Wednesday 3440.20 0.00
04/11 Thursday 3511.90 0.00
04/12 Friday 2379.20 14415.90

Shipped Total 17638.60 Paid Total 14415.90

Delivery Charge 0.00 Credit Memo

Credit 0.00  SesSsssssHse===ss=ss5==- ——
Ween nnn ---------- Date +/- Qty Item Price Amount
Sub-Total (+) 17,638.60 9 -+--~-----------------------+-~+--~----------
Prev.Balance(+) 137,224.00 04/10 + 1 straw cr-19.3 0.00 0.00
Payment 14,415.90 Credit Total : 0.00

Current Balance 140,446.70

 

 

 

 

 

 

 

 

 

 

 

 

 

 

AR Aging Report Current Balance 140,446.70
Ist Week 17,638.60 Received Amount (- )
2nd Week 2,637.60 This Week Balance
3rd Week & Over 120,170.50 Received By
Paid By

 

 

 

 

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.

All interest, costs, attorney's fees due seller shall be considered sums owing in connection with this transaction uner the PACA trust.
K&S

Case 1:20-cv-08786-GHW Document 41-3 Piled O2/B9/@h28b age 8 OfFeS: 347)438-1053
INVOICE

 

 

 

 

 

 

Ship To: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 328458

#100 Broad st

NY, NY 10004 Date 04/08/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
RED EX FANCY 80 USA 1 31.00 31.00} JALAPINO JALPN HOL 1 15.00 15.00
GRANNY SMITH 80 USA 1 42.00 42.00 | CUCUMBER CUM MEX 3 17,00 51.00
STAR RUBY Cc USA 1 32.00 32.00 | SQUASH GREEN GR USA 1 15.00 15.00
SEEDLESS GREEN GR USA 1 33.00 33.00] SQUASH YELLOW YEL MEX 4, 1500 15.00
SEEDLESS RED RED USA 1 24.00 24.00 | WATERCRESS B&w MEX 1 19.00 19.00
NECTARINE CALI & USA 1 24.00 24.00} GARLIC JAR JBOX USA 1 30.00 30.00
WATERMELON SEED USA 1 40.00 40.00] SHANGHAI BOKCHOY SH/BK USA 1 25.00 25.00
CANTALOUP Cc USA 1 14.00 14.00 | MUSHROOM WASH 10LB USA 4 17.00 68.00
HONEY DEW c USA 1 10.00 10.00 | MUSH SPECIAL 10SP USA 4 17.50 70.00
JUICE ORANGE 100 USA 3 19.00 57.00 | PORTABELLA MUS M PO#2 USA 2 9.50 19.00
SUNKIST ORANGE 56 USA 3 32.00 96.00 |] YAM #1 YAM USA kL 22:00 22.00
LEMON SK SK/L USA 1 28.00 28.00 | EGGPLANT c USA 1 14.00 14.00
STRAWBERRY CAL USA 11 14.00 154.00] POTATO IDAHO 90 USA 2 23.00 46.00
RASPBERRY A USA 7 33.00 231.00] POTATO RED A BOX BOX A USA 1 22.00 22.00
BLUEBERRY A USA 8 26.00 208.00 | CARROT LOOSE LOOSE USA 3 22.00 66.00
BLACKBERRY A USA 4 34.00 136.00] ONION SPANISH SPI USA 2 20.00 40.00
AVOCADO HASS# RIPE MEX 8 62.00 496.00] ONION RED RD-J USA 2 18.00 36.00
PAPAYA BIG BOX RED MEX 1 24.00 24.00 | PINE GOLDEN GOL USA 5 15.00 75.00
MANGO RIPE M/RIP MEX 10 9.00 90.00 | BANANA BNA ECU 2 17.00 34.00
LIME 48 MEX ZL 211.00 11.00 | MESCLUN SALAD MESC USA 22 7.00 154.00
TOMATO #1 5X6 USA 3 15.00 45.00] CELERY CHOP BOX USA 1 56.00 56.00
TOMATO PLUM ce MEX 2 16.00 32.00] EGG EX/LOOSE EXLOO USA 6 25.00 150.00
TOMATO CHERRY Cc USA 1 16.00 16.00} YUKON A BOX Y ABO USA 1 34.00 34.00
TOMATO GRAPE R USA 3 10.00 30.00 | SCALLION KING USA 2 12.00 24.00
TOMATO GRAPE YE USA 1 20.00 20.00
ROMAINE CA-A USA 2 18.00 36.00
CABBAGE GR GR USA 1 16.00 16.00
CABBAGE RED RED USA 1 28.00 28.00
FLOWER ORCHID 100 USA 0 0.00 0.00
BROCCOLI CROWN CROW USA 4 18.00 72.00
RABE ANDY USA 2 40.00 80.00
ASPARAGUS LG USA 3 16.00 48.00
CELERY c USA 2 70.00 140.00
SPINACH BUSH USA 1 22.00 22.00
SPINACH BABY BA/SP USA 10 6.50 65.00
GREEN KALE KALE USA 4 15.00 60.00
STRINGBEAN BEAN USA 1 16.00 16.00
SNOWPEA A USA 1 18.00 18.00 Total Boxes: 203.0
SUGAR SNAPEA SNAP PER 1 28.00 28.00 Delivery §$ 263.90
ALFALFA CUP USA 1 12.00 12.00
BRUSSEL SP LOOSE USA 2 38.00 76.00 Shipment 4,336.90
RADICCIO.. RD/CO USA 1 12.00 12.00 | ------------ 9 =
MINT A USA 1 14.00 14.00
BABY ARRUGULA B/AR USA 10 10.00 100.00] Cash Receipt:
CILANTRO c USA 2 18.00 36.00 | eoocrncer srr en
PEPPER GREEN GR USA 2 32.00 64.00
PEPPER RED RED USA 3 24.00 72.00 Signature
YELLOW PEPPER YELL USA 2 217.00 34.00
Printed on Oct 12, 2020 *eekkke Balance : 137,224.00
The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural

commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S

Case 1:20-cv-08786-GHW Document 41-3 Pribad:Oa(spieosdgage 9 OFZ3 347)438-1053

 

 

 

 

 

 

 

INVOICE

ShipTo: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 328523

#100 Broad st

NY, NY 10004 Date 04/09/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
RED EX FANCY 80 USA 1 30:00 30.00 | YELLOW PEPPER YELL USA 2 16.00 32.00
GRANNY SMITH 80 USA 2 42.00 84.00 | JALAPINO JALPN HOL 2, 25.00 15.00
STAR RUBY c USA 1 32.00 32.00 | CUCUMBER CUM MEX 3 21.00 63.00
SEEDLESS GREEN GR USA 1 33.00 33.00 | SQUASH GREEN GR USA 1 15.00 15.00
SEEDLESS RED RED USA 1 24,00 24.00 | SQUASH YELLOW YEL MEX 1 15.00 15.00
KIWI LOOSE LLOO USA 1 20.00 20.00 | MUSH SPECIAL 10SP USA 4 17.50 70.00
WATERMELON SEED USA 1 40.00 40.00} PORTABELLA MUS M PO#2 USA 4 9.50 38.00
HONEY DEW c USA 1 10.00 10.00 | EGGPLANT c USA 1 14.00 14.00
JUICE ORANGE 100 USA 3 19.00 57.00] POTATO IDAHO 90 USA 3 23.00 69.00
SUNKIST ORANGE 56 USA 3 32.00 96.00 | CARROT LOOSE LOOSE USA 1 22.00 22.00
LEMON SK SK/L USA 1 28.00 28.00 | ONION SPANISH SPI USA 2 19.00 38.00
STRAWBERRY CAL USA 7 18.00 126.00] ONION RED RD-J USA 2 18.00 36.00
RASPBERRY A USA 6 35.00 210.00] PINE GOLDEN GOL USA 5 15.00 75.00
BLUEBERRY A USA 7 #%26.00 182.00] BANANA BNA ECU 3 17.00 51.00
BLACKBERRY A USA 2 34.00 68.00 | YUCA DOM EUC 1 26.00 26.00
AVOCADO HASS# RIPE MEX 8 62.00 496.00] MESCLUN SALAD MESC USA 20 7.00 140.00
PAPAYA RED RIPE RIPE MEX 1 24.00 24.00 | EGG EX/LOOSE EXLOO USA 7 25.00 175.00
MANGO RIPE M/RIP MEX 20 9.00 180.00] EGG BROWN/CT BR/CT USA 1 46.00 46.00
LIME 48 MEX ~ Li v06 11.00] SCALLION KING USA 3 12.00 36.00
TOMATO #1 5X6 USA 3 16.00 48.00
TOMATO PLUM Cc MEX 2 16.00 32.00
TOMATO CHERRY c USA 1 16.00 16.00
TOMATO GRAPE R USA 2 10.00 20.00
TOMATO GRAPE YE USA 1 18.00 18.00
LETTUCE . ICEBERG A USA 1 17.00 17.00
ROMAINE CA-A USA 4 19.00 76.00
CABBAGE GR GR USA 1 16.00 16.00
CAULIFLOWER c USA 2 15.00 30.00
BROCCOLI CROWN CROW USA 3 18.00 54.00
RABE ANDY USA 1 40.00 40.00
ASPARAGUS LG USA 3 15.00 45.00
SPINACH BUSH USA 1 22.00 22.00
SPINACH BABY BA/SP USA 10 6.50 65.00
GREEN LEAF GR USA 1 16.00 16.00
GREEN KALE KALE USA 4 15.00 60.00
STRINGBEAN BEAN USA 1 16.00 16.00
ENDIVES A USA 1 14.00 14.00
ALFALFA CUP USA 1 12.00 12.00 Total Boxes: 198.0
BRUSSEL SP LOOSE USA 1 37.00 37.00 Delivery $ 257.40
RADISH CEL USA 1 14.00 14.00
RADICCIO.. RD/CO USA 1 12.00 12.00 Shipment 3,970.40
BASIL A USA 1 20.00 20.00 | SSenoe eR
BABY ARRUGULA B/AR USA 10 10.00 100.00
PARSLEY PLAIN FULL USA 1 24.00 24.00 Cash Receipt:
CILANTRO c USA 1 18.00 28200) | Sse en
BEETS 25LB LBAG CAN L 22..00 12'..00
PEPPER GREEN GR USA 2 27.00 54.00 Signature
PEPPER RED RED USA 3 26.00 78.00
Printed on Oct 12, 2020 weeeee Balance : 141,560.90

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural

commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S

Case _1:20-cv-08786-GHW Document 41-3 Phew 02719721-28Page 10 afa23 347)438-1053
INVOICE

 

 

 

 

 

 

 

ShipTo: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 328570
#100 Broad st
NY, NY 10004 Date 04/10/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
GRANNY SMITH 80 USA 2 42.00 84.00 | MUSH SPECIAL 10SP USA 4 17.50 70.00
STAR RUBY @ USA 1 32.00 32.00 | PORTABELLA MUS M PO#2 USA 4 9.50 38.00
SEEDLESS RED RED USA 1 24.00 24.00 | POTATO IDAHO 90 USA 3 23.00 69.00
NECTARINE CALI c USA 1 18.00 18.00 | POTATO RED A BOX BOX A USA 1 22.00 22.00
WATERMELON SEED USA 1 40.00 40.00] CARROT LOOSE LOOSE USA 2 22.00 44.00
CANTALOUP CG USA 1 14.00 14.00 | ONION SPANISH SPI USA 2 19.00 38.00
HONEY DEW Be USA 1 11.00 11.00] ONION RED RD-J USA 2 18.00 36.00
JUICE ORANGE 100 USA 2 19.00 38.00] PINE GOLDEN GOL USA L. 25:00 15.00
SUNKIST ORANGE 56 USA 3 32.00 96.00 | BANANA BNA ECU a: 27200 51.00
LEMON SK SK/L USA 1 28.00 28.00 | PLANTAIN YELLOW c ECU 1 26.00 26.00
STRAWBERRY CAL USA 9 17.00 153.00] MESCLUN SALAD MESC USA 14 7.00 98.00
RASPBERRY A USA 6 34.00 204.00 | EGG EX/LOOSE EXLOO USA 6 25.00 150.00
BLUEBERRY A USA 6 26.00 156.00] SCALLION KING USA 1 12.00 12.00
AVOCADO HASS# RIPE MEX 8 58.00 464.00] SQUASH BUTTERNUT BUTN USA 1 24.00 24.00
PAPAYA RED RIPE RIPE MEX 1 24.00 24.00 | SQUASH KABOCHA KABO MEX 1 26.00 26.00
MANGO RIPE M/RIP MEX 10 7.50 75.00
TOMATO #1 5X6 USA 2 16.00 32.00
TOMATO PLUM c MEX 2 15.00 30.00
TOMATO CHERRY c USA 1 16.00 16.00
TOMATO GRAPE R USA 2 10.00 20.00
LETTUCE . ICEBERG A USA 1 17.00 17.00
ROMAINE CA-A USA 3 18.00 54.00
CAULIFLOWER c USA 2 17.00 34.00
FLOWER ORCHID 100 USA 2 23.00 46.00
BROCCOLI CROWN CROW USA 3 18.00 54.00
RABE ANDY USA 1 40.00 40.00
ASPARAGUS LG USA 3 15.00 45.00
CELERY Cc USA 2 70.00 140.00
SPINACH BUSH USA 1 22.00 22.00
SPINACH BABY BA/SP USA 12 6.50 78.00
GREEN COLLARD COALD USA 1 15.00 15.00
GREEN KALE KALE USA 1 $5.06 15.00
STRINGBEAN BEAN USA 1 16.00 16.00
ALFALFA CUP USA 1 12.00 12.00
BRUSSEL SP LOOSE USA 2 38.00 76.00 Credit 19.30
SHALLOT JAR/5LB SJ#5 USA 1 9.50 9.50
MINT A USA 1 14.00 14.00
BASIL A USA 1 20.00 20.00 Total Boxes: 160.0
DILL HALF USA 1 16.00 16.00 Delivery $ : 208.00
BEETS 25LB LBAG CAN 2 12.00 24.00
PEPPER GREEN GR USA 1 26.00 26.00 Shipment : 3,440.20
PEPPER RED RED USA 2 29.00 5B.00 | --Se ese se sae eee ee Sees ere
YELLOW PEPPER YELL USA 2 15.00 30.00
CUCUMBER CUM MEX 2 15.00 30.00 Cash Receipt:
SQUASH GREEN GR USA 1 14.00 14.00 | saocssst-S- SS See SSS eee Se estes
GARLIC JAR JBOX USA 1 30.00 30.00
GINGER c30 USA 1 21.00 21.00 Signature :
MUSHROOM WASH 10LB USA 1 17.00 17.00
Printed on Oct 12, 2020 *#eeee% Balance : 145,531.30

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S

Case 1:20-cv-08786-GHW Document 41-3 FiheskO2#19/2t-2d8age 11 Of223 347)438-1053
INVOICE

 

 

 

 

 

 

Ship To: # i1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 328624
#100 Broad st
NY, NY 10004 Date 04/11/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
GRANNY SMITH 80 USA 2 42.00 84.00] POTATO IDAHO 90 USA 2 23.00 46.00
STAR RUBY c USA 1 32.00 32.00 | POTATO RED A BOX BOX A USA 1 22.00 22.00
SEEDLESS GREEN GR USA 1 34.00 34.00] CARROT LOOSE LOOSE USA 1 22.00 22.00
SEEDLESS RED RED USA 1 24.00 24.00 | ONION SPANISH SPI USA 2 20.00 40.00
KIWI LOOSE LLOO USA 1 20.00 20.00 | ONION RED RD-J USA 2 18.00 36.00
WATERMELON SEED USA 1 40.00 40.00 | PINE GOLDEN GOL USA 4 15.00 60.00
HONEY DEW Cc USA 1 11.00 11.00 | BANANA BNA ECU 3: 27200 51.00
JUICE ORANGE 100 USA 2 19.00 38.00 | PLANTAIN YELLOW c ECU 1 26.00 26.00
SUNKIST ORANGE 56 USA 2 32.00 64.00] MESCLUN SALAD MESC USA 18 7.00 126.00
STRAWBERRY CAL USA 8 15.00 120.00| EGG EX/LOOSE EXLOO USA 7 25.00 175.00
RASPBERRY A USA 4 36.00 144.00 | YUKON A BOx Y ABO USA 1 32.00 32.00
BLUEBERRY A USA 7 25.00 175.00] SCALLION KING USA 2 12.00 24.00
BLACKBERRY A USA 2 34.00 68.00
AVOCADO HASS# RIPE MEX 8 54.00 432.00
PAPAYA BIG BOX RED MEX 1 24.00 24.00
MANGO RIPE M/RIP MEX 10 7.50 75.00
TOMATO #1 5X6 USA 3 16.00 48.00
TOMATO PLUM c MEX 2 15.00 30.00
TOMATO GRAPE R USA 3 10.00 30.00
TOMATO GRAPE YE USA 1 17.00 17.00
ROMAINE CA-A USA 4 20.00 80.00
CABBAGE GR GR USA i 172.00 17.00
CAULIFLOWER c USA 1 17.00 17.00
FLOWER ORCHID 100 USA 1 15.06 15.00
BROCCOLI CROWN CROW USA 3 18.00 54.00
RABE ANDY USA 1 40.00 40.00
ASPARAGUS LG USA 3 16.00 48.00
SPINACH BUSH USA 1 20.00 20.00
SPINACH BABY BA/SP USA 12 6.50 £78.00
GREEN KALE KALE USA 1 15.00 15.00
STRINGBEAN BEAN USA 1 16.00 16.00
SUGAR SNAPEA SNAP PER 1 28.00 28.00
BRUSSEL SP LOOSE USA 3 39.00 117.00
RADICCIO.. RD/CO USA 1 12.00 12.00
BASIL A USA 1 20.00 20.00
BABY ARRUGULA B/AR USA 10 10.00 100.00
CILANTRO Cc USA 1 18.00 18.00
BEETS 25LB LBAG CAN 2 12.00 24.00 Total Boxes: 173.0
PEPPER GREEN GR USA 2 24.00 48.00 Delivery $ : 224.90
PEPPER RED RED USA 3 29.00 87.00
YELLOW PEPPER YELL USA 2 15.00 30.00 Shipment : 2,511.90
CUCUMBER CUM MEX 2 16.00 32.00 | ----------- 3-33 $= = = = +
GARLIC JAR JBOX USA 1 30.00 30.00
SHANGHAI BOKCHOY SH/BK USA I :26.00 26.00 Cash Receipt
MUSHROOM WASH 10LB USA 2 17.00 34.00 | ----------------------------------------------
MUSH SPECIAL 10SP USA 4 17.50 70.00
PORTABELLA MUS M PO#2 USA 2 9.50 19.00 Signature
YAM #1 YAM USA 1 22.00 22.00
rinted on Oct 12, 2020 keekKE Balance : 148,971.50

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S§

Case 1:20-cv-08786-GHW Document 41-3 Fikes O2/19/24-2d8age 12 Of223 347)438-1053
INVOICE

 

 

 

 

 

 

Ship To: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 328706
#100 Broad st
NY, NY 10004 Date 04/12/201
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
GRANNY SMITH 80 USA 1. A200 42.00
STAR RUBY Cc USA 1 32.00 32.00
SEEDLESS RED RED USA 1 24.00 24.00
WATERMELON SEED USA 1 42.00 42.00
CANTALOUP Gc USA 1 14.00 14.00
JUICE ORANGE 100 USA 5 19.00 95.00
SUNKIST ORANGE 56 USA 4 32.00 128.00
LEMON SK SK/L USA 1 29.00 29.00
STRAWBERRY CAL USA 7 13.00 91.00
RASPBERRY A USA 5 39.00 195.00
BLUEBERRY A USA 7 26.00 182.00
AVOCADO HASS# RIPE MEX 5 54.00 270.00
PAPAYA RED RIPE RIPE MEX 1 24.00 24.00
MANGO RIPE M/RIP MEX 10 8.50 85.00
TOMATO PLUM c MEX 1 15.00 15.00
LETTUCE . ICEBERG A USA 1 16.00 16.00
ROMAINE CA-A USA 2 18.00 36.00
BROCCOLI CROWN CROW USA 2 17.00 34.00
ASPARAGUS LG USA 3 15.00 45.00
SPINACH BUSH USA 1 20.00 20.00
SPINACH BABY BA/SP USA 8 6.50 52.00
GREEN COLLARD COALD USA 1 15.00 15.00
SNOWPEA A USA 1 20.00 20.00
BABY ARRUGULA B/AR USA 3 10.00 30.00
CILANTRO c USA 1 19.00 19.00
PEPPER GREEN GR USA 1 22.00 22.00
PEPPER RED RED USA 2 30.00 60.00
YELLOW PEPPER YELL USA 2 16.00 32.00
JALAPINO JALPN HOL 1 16.00 16.00
CUCUMBER CUM MEX 2 15.00 30.00
SQUASH GREEN GR USA 1 13.00 13.00
GARLIC JAR JBOX USA 1 30.00 30.00
MUSHROOM WASH 10LB USA 1 17.00 17.00
MUSH SPECIAL 10SP USA 2 17.50 35.00
PORTABELLA MUS M PO#2 USA 3 9.50 28.50
POTATO IDAHO 90 USA 3 23.00 69.00
CARROT LOOSE LOOSE USA 1 22.00 22.00
ONION SPANISH SPI USA 1 19.00 19.00 Total Boxes: 109.0
ONION RED RD-J USA 1 19.00 19.00 Delivery $ 141.70
PINE GOLDEN GOL USA 2 16.00 32.00
BANANA BNA ECU 3 17.00 51.00 Shipment 2,379.20
EGG EX/LOOSE EXLOO USA 7 25.00 175.00 | --------------------------------~--------------
MONEY PICK UP $$$ 0 0.00 0.00
SCALLION KING USA L F200 12.00 Cash Receipt:
Signature
Printed on Oct 12, 2020 kkeeke Balance : 152,483.40

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
Case 1:20-cv-08786-GHW Document 41-3 Filed 02/19/21 Page 13 23 o4/1972019
K&S

22-19 160 Street
Whitestone, NY 11357

 

Telephone : 718)767-2808 Fax: 347)438-1053
Ship To: #1TEB 100 BROAD STREET LLC (ESSEN) From: To:
#100 Broad st 7
NY, NY 10004 04/14/2019 04/19/2019

212) 943-0100

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Shipped Amont Payment
04/14 Sunday 0.00 0.00
04/15 Monday 4073.10 0.00
04/16 Tuesday 3403.10 0.00
04/17 Wednesday 3558.50 0.00
04/18 Thursday 3886.40 0.00
04/19 Friday 4578.70 14490.20
Shipped Total 19499.80 Paid Total 14490.20
Delivery Charge 0.00 redit Memo
Credit 0.00 ===
Tam nnn enn Date +/- Qty Item Price Amount
Sees fh) EEG 8 mmennenrienmiane EE
Prev.Balance(+) 140,446.70 04/17 + 1 straw cr-11.3 0.00 0.00
04/17 + 1 rasp cr-41.3 0.00 0.00
Payment 14,490.20 04/17 + 2 paya cr-2.6 0.00 0.00
Current Balance 145,456.30 Credit Total : 0.00
AR Aging Report Current Balance 145,456.30
Ist Week 19,499.80 Received Amount (-)
2nd Week 3,148.40 This Week Balance
3rd Week & Over 122,808.10 Received By
Paid By

 

 

 

 

The perishable agricultural commodities listed on this invoice are sold Subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.

All interest, costs, attorney's fees due seller shall be considered sums owing in connection with this transaction uner the PACA trust.
K&S

ShipTo: # 1TEB

Case 1:20-cv-08786-GHW Document 41-3 Figg O2H@ed oRage 14 of.23
INVOICE

100 BROAD STREET LLC (ESSEN)

347)438-1053

 

 

 

 

 

 

Invoice No. 328801

#100 Broad st

NY, NY 10004 Date 04/15/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
RED EX FANCY 80 USA 1 31.00 31.00] YELLOW PEPPER YELL USA 2 18.00 36.00
GRANNY SMITH 80 USA 2 42.00 84.00] JALAPINO JALPN HOL 1 15.00 15.00
GALA APPLE 80 USA 1 38.00 38.00] CUCUMBER CUM MEX 2 18.00 36.00
SEEDLESS GREEN GR USA 1 40.00 40.00} SQUASH GREEN GR USA 1 13.00 13.00
SEEDLESS RED RED USA 1 24.00 24.00] SQUASH YELLOW YEL MEX tT 12:00 12.00
NECTARINE CALI Cc USA 1 20.00 20.00 | GARLIC JAR JBOX USA 1 30.00 30.00
KIWI LOOSE LLOO USA 1 20.00 20.00} SHANGHAI BOKCHOY SH/BK USA 1 24.00 24.00
WATERMELON SEED USA 1 45.00 45.00 | MUSHROOM WASH 10LB USA 3 17.00 51.00
CANTALOUP CG USA 1 16.00 16.00 | MUSH SPECIAL 10SP USA 4 17.50 70.00
HONEY DEW Cc USA 1 11.00 11.00] PORTABELLA MUS M PO#2 USA 2 9.50 19.00
JUICE ORANGE 100 USA 2 19.00 38.00} EGGPLANT Cc USA 1 12.00 12.00
SUNKIST ORANGE 56 USA 1 32.00 32.00 | POTATO IDAHO 90 USA 2 23.00 46.00
LEMON SK SK/L USA 1 29.00 29.00] POTATO RED A BOX BOX A USA 1 22.00 22.00
STRAWBERRY CAL USA 11 10.00 110.00] CARROT LOOSE LOOSE USA 3 22.00 66.00
RASPBERRY A USA 8 40.00 320.00] ONION SPANISH SPI USA 2 19.00 38.00
BLUEBERRY A USA 8 24.00 192.00] ONION RED RD-J USA 2 19.00 38.00
BLACKBERRY A USA 4 20.00 80.00] PINE GOLDEN GOL USA 4 17.00 68.00
AVOCADO HASS# RIPE MEX 8 54.00 432.00] BANANA BNA ECU 2 17.00 34.00
PAPAYA BIG BOX RED MEX 1 24.00 24.00 | MESCLUN SALAD MESC USA 18 7.00 126.00
MANGO RIPE M/RIP MEX 15 8.00 120.00] EGG EX/LOOSE EXLOO USA 7 22.00 154.00
LIME 48 MEX 1 16.00 16.00 | SCALLION KING USA 3 12.00 36.00
TOMATO #1 5X6 USA 3 17.00 51.00
TOMATO PLUM Gc MEX 2 15.00 30.00
TOMATO CHERRY c USA 2 16.00 32.00
TOMATO GRAPE R USA 3 9.00 27.00
TOMATO GRAPE YE USA 1 27.00 17.00
ROMAINE CA-A USA 3 19.00 57.00
CABBAGE GR GR USA 1 17.00 17.00
CAULIFLOWER Cc USA 1 18.00 18.00
FLOWER ORCHID 100 USA 1 23.00 23.00
BROCCOLI CROWN CROW USA 5 16.00 80.00
RABE ANDY USA 2 45.00 90.00
ASPARAGUS LG USA 3 14.00 42.00
CELERY c USA 1 70.00 70.00
SPINACH BUSH USA 1 19.00 19.00
SPINACH BABY BA/SP USA 8 6.50 52.00
GREEN KALE KALE USA 5 14.00 70.00
STRINGBEAN BEAN USA 1 16.00 16.00 Total Boxes: 202.0
ALFALFA CUP USA 1 12.00 12.00 Delivery $ 262.60
BRUSSEL SP LOOSE USA 2 39.00 78.00
SHALLOT JAR/5LB SJ#5 USA 1 9.50 9.50 Shipment 4,073.10
BASIL A USA 1 20.00 20.00 | -------------------------------------------+---
BABY ARRUGULA B/AR USA 12 10.50 126.00
PARSLEY PLAIN FULL USA 1 22.00 22.00 Cash Receipt:
CILANTRO a USA 1 18.00 18.00 | -------------------------~---------------------
BEETS 25LB LBAG CAN 1 13.00 13.00
PEPPER GREEN GR USA 2 20.00 40.00 Signature
PEPPER RED RED USA 3 31.00 93.00
Printed on Oct 12, 2020 *#eeee* Balance : 140,446.70

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural

commodities act. 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S

Case 1:20-cv-08786-GHW Document 41-3 FaghO2/Aaied okyage 15 of. 23

 

 

 

 

 

 

 

347)438-1053
INVOICE

ShipTo: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 328829

#100 Broad st

NY, NY 10004 Date 04/16/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
GRANNY SMITH 80 USA 2 40.00 80.00| POTATO RED A BOX BOX A USA 1 22.00 22.00
STAR RUBY c USA 1 32.00 32.00] CARROT LOOSE LOOSE USA 2 22.00 £44.00
WATERMELON SEED USA 1 48.00 48.00] CARROT HNDPLD BABY HNBA USA 4 16.00 64.00
HONEY DEW G USA 1 11.00 £11.00] ONION SPANTSH SPI USA 2 19.00 £38.00
JUICE ORANGE 100 USA 2 19.00 38.00] ONION RED RD-J USA 2 19.00 £38.00
SUNKIST ORANGE 56 USA 3 32.00 96.00] PINE GOLDEN GOL USA 5 17.00 85.00
LEMON SK SK/L USA 1 30.00 30.00] BANANA BNA ECU 3 17.00 #£51.00
STRAWBERRY CAL USA 7 20.206 70.00 | MESCLUN SALAD MESC USA 20 7.00 140.00
RASPBERRY A USA 6 40.00 240.00] EGG ExX/LOOSE EXLOO USA 6 22.00 132.00
BLUEBERRY A USA 6 22.00 132.00] HERBS ROSEMARY ROSE CHL 1 - 7.50 7.50
AVOCADO HASS# RIPE MEX 8 52.00 416.00] SCALLION KING USA 3 11.00 £33.00
PAPAYA RED RIPE RIPE MEX 2 25.00 £50.00
MANGO RIPE M/RIP MEX 10 7.50 75.00
TOMATO #1 5X6 USA 2 16.00 32.00
TOMATO PLUM c MEX 2 15.00 £30.00
TOMATO GRAPE R USA 3 9.00 27.00
TOMATILLO ORG MEX 1 11.00 11.00
LETTUCE . ICEBERG A USA 1 21.00 21.00
ROMAINE CA-A USA 4 18.00 £72.00
CABBAGE RED RED USA 1 32.00 £32.00
CAULIFLOWER c USA 2 17.00 £34.00
FLOWER ORCHID 100 USA 1 23.00 £23.00
BROCCOLI CROWN CROW USA 4 16.00 64.00
RABE ANDY USA 1 45.00 £45.00
ASPARAGUS LG USA 3 14.00 £42.00
SPINACH BUSH USA 2 20.00 £40.00
SPINACH BABY BA/SP USA 10 6.50 65.00
GREEN LEAF GR USA 1 17.00 17.00
GREEN KALE KALE USA 2 15.00 £30.00
FRENCH BEAN FREN USA 1 11.00 £11.00
ALFALFA CUP USA 1 12.00 £12.00
BRUSSEL SP LOOSE USA 2 40.00 80.00
SHALLOT JAR/5LB SJ#5 USA 1 9.50 9.50
RADICCIO.. RD/CO USA 1 12.00 12.00
MINT A USA 1 14.00 14.00
BABY ARRUGULA B/AR USA 8 10.50 84.00
CILANTRO c USA 1 18.00 18.00
PEPPER GREEN GR USA 2 18.00 36.00] Total Boxes: 177.0
PEPPER RED RED USA 2 30.00 60.00] Delivery $ 230.10
YELLOW PEPPER YELL USA 2 17.00 £34.00
JALAPINO JALPN HOL 1 15.00 15.00| Shipment 3,403.10
CUCUMBER CUM MEX 2 15.00 30.00 | ---------------------------------------~---+-+---
SQUASH GREEN GR USA 1 13.00 13.00
SQUASH YELLOW YEL MEX 1 17.00 17.00 Cash Receipt:
MUSH SPECIAL 10SP USA 4 17.50 70.00 | ----------------------------------------------
PORTABELLA MUS M PO#2 USA 4 9.50 38.00
EGGPLANT ITALIAN ITAL USA 1 16.00 16.00| Signature
POTATO IDAHO 90 USA 2 23.00 £46.00
Printed on Oct 12, 2020 *¥ekee* Balance : 144,519.80

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by
commodities act. 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these com

products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.

section 5(c) of the perishable agricultural
modities, all inventories of food or other
K&S

Case 1:20-cv-08786-GHW Document 41-3 FrigdO2Agizeb-okage 16 0f23 347)438-1053
INVOICE

 

 

 

 

 

 

 

ShipTo: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 328911
#100 Broad st
NY, NY 10004 Date 04/17/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
RED EX FANCY 80 USA 1 30.00 30.00} SQUASH YELLOW YEL MEX 1 16.00 16.00
GRANNY SMITH 80 USA 2 38.00 76.00] GARLIC JAR JBOX USA 1 30.00 30.00
STAR RUBY C USA 1 32.00 32.00 | GINGER c30 USA 1 20.00 20.00
SEEDLESS GREEN GR USA 1 42.00 42.00 | MUSHROOM WASH 10LB USA 3 17.00 51.00
SEEDLESS RED RED USA 1 24.00 24.00] MUSH SPECIAL 10SP USA 4 17.50 70.00
NECTARINE CALI Cc USA 0 0.00 0.00 | PORTABELLA MUS M PO#2 USA 2 9.50 19.00
KIWI LOOSE LLOO USA 1 20.00 20.00] YAM #1 YAM USA 1 22.00 22.00
WATERMELON SEED USA 1 48.00 48.00] POTATO IDAHO 90 USA 3 23.00 69.00
CANTALOUP c USA 1 18.00 18.00} CARROT LOOSE LOOSE USA 3 22.00 66.00
HONEY DEW Cc USA i: 22,500 12.00 | CARROT HNDPLD BABY HNBA USA 2 16.00 32.00
JUICE ORANGE 100 USA 3 19.00 57.00 | ONION SPANISH SPI USA 2 19.00 38.00
SUNKIST ORANGE 56 USA 3 32.00 96.00] ONION RED RD-J USA 2 19.00 38.00
LEMON SK SK/L USA 1 30.00 30.00] PINE GOLDEN GOL USA 4 17.00 68.00
STRAWBERRY CAL USA 8 9.00 72.00 | BANANA BNA ECU 3 17.00 51.00
RASPBERRY A USA 2 39.00 78.00) PLANTAIN YELLOW Cc ECU 1 25.00 25.00
BLUEBERRY A USA 7 18.00 126.00 | CIDER 1/26 USA 1 27.00 27.00
BLACKBERRY A USA 3 18.00 54.00] CALARAZA c USA 1 22.00 22.00
AVOCADO HASS# RIPE MEX 8 52.00 416.00] MESCLUN SALAD MESC USA 15 7.00 105.00
PAPAYA RED RIPE RIPE MEX 2 0.00 0.00 | EGG EX/LOOSE EXLOO USA 7 22.00 154.00
MANGO RIPE M/RIP MEX 20 7.50 150.00] EGG BROWN/CT BR/CT USA 1 38.00 38.00
TOMATO #1 5X6 USA 3 15.00 45.00 | YUKON A BOX Y ABO USA 1 33.00 33.00
TOMATO PLUM Cc MEX 1 15.00 15.00 |} SQUASH BUTTERNUT BUTN USA 1 26.00 26.00
TOMATO GRAPE R USA 2 9.00 18.00
ROMAINE CA-A USA 3 19.00 57.00
CABBAGE GR GR USA 1 8 £7..00 17.00
CAULIFLOWER Cc USA 2 15.00 30.00
FLOWER ORCHID 100 USA 1 15.00 15.00
BROCCOLI CROWN CROW USA 3 14.00 42.00
RABE ANDY USA 1 45.00 45.00
ASPARAGUS LG USA 3 15.00 45.00
CELERY Cc USA 2 72.00 144.00
SPINACH BUSH USA 2 18.00 36.00
GREEN COLLARD COALD USA 1 15.00 15.00
GREEN KALE KALE USA 4 15.00 60.00
STRINGBEAN BEAN USA 1 16.00 16.00 Credit 55.20
ENDIVES A USA 1 14.00 14.00
BRUSSEL SP LOOSE USA 1 40.00 40.00
RADICCIO.. RD/CO USA 1, 22.00 12.00 Total Boxes: 179.0
MINT A USA 1. 14:00 14.00 Delivery $ 232.70
BASIL A USA 1 20.00 20.00
BABY ARRUGULA B/AR USA 6 10.50 63.00 Shipment 3,558.50
CILANTRO Cc USA 1 18.00 18.00 | ------------------------------------------+-..
BEETS 25LB LBAG CAN 1 14.00 14.00
PEPPER GREEN GR USA 2 16.00 32.00 Cash Receipt
PEPPER RED RED USA 3 30.00 90.00 | -------------------------------------~---------
YELLOW PEPPER YELL USA 2 17.00 34.00
CUCUMBER CUM MEX 1 16.00 16.00 Signature ¢
SQUASH GREEN GR USA 1 13.00 13.00
Printed on Oct 12, 2020 *#*e%e%*% Balance : 147,922.90

The perishable agricultural commodities listed on this invoice are sold
commodities act, 1930(7 U.S.C, 499(E)(

subject to the statutory trust authorized by section 5(c) of the perishable agricultural

C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S

Case 1:20-cv-08786-GHW Document 41-3 FirhO24 Sed; okage 17 0

pee. 347)438-1053

 

 

 

 

 

 

 

INVOICE

ShipTo: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 328975

#100 Broad st

NY, NY 10004 Date 04/18/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
GRANNY SMITH 80 USA 1 37.00 37.00 | MUSHROOM WASH 10LB USA 3 17.00 51.00
GALA APPLE 80 USA 1 38.00 38.00 | MUSH SPECIAL 10SP USA 4 17.50 70.00
SEEDLESS RED RED USA 1 24.00 24.00 | PORTABELLA MUS M PO#2 USA 2 9.50 19.00
NECTARINE CALI c USA 0 0.00 0.00] YAM #1 YAM USA 1 22.00 22.00
WATERMELON SEED USA 2 48.00 96.00 | EGGPLANT ITALIAN ITAL USA 1 18.00 18.00
HONEY DEW Cc USA 1 12.00 12.00] POTATO IDAHO 90 USA 4 23.00 92.00
JUICE ORANGE 100 USA 2 19.00 38.00 | POTATO RED A BOX BOX A USA 1 22.00 22.00
SUNKIST ORANGE 56 USA 2 32.00 64.00 | CARROT LOOSE LOOSE USA 2 22.00 44.00
STRAWBERRY CAL USA 10 10.00 100.00] ONION SPANISH SPI USA 3 19.00 57.00
RASPBERRY A USA 6 39.00 234.00] ONION RED RD-J USA 3 20.00 60.00
BLUEBERRY A USA 8 18.00 144.00] ToFU s USA 1 13.50 13.50
BLACKBERRY A USA 2 18.00 36.00] PINE GOLDEN GoL USA 4 17.00 68.00
AVOCADO HASS# RIPE MEX 9 52.00 468.00] BANANA BNA ECU 2 17.00 34.00
PAPAYA BIG BOX RED MEX 1 25.00 25.00] PLANTAIN YELLOW Cc ECU 1 25.00 25.00
MANGO MEXICAN c MEX 15 8.00 120.00] MESCLUN SALAD MESC USA 16 7.00 112.00
TOMATO #1 5X6 USA 3 14.00 42.00] EGG EX/LOOSE EXLOO USA 8 22,00 176.00
TOMATO PLUM c MEX 2 15.00 30.00] MONEY PICK UP $$$ Oo 0.00 0.00
TOMATO CHERRY Cc USA 3 15.00 45.00} SCALLION KING USA 2 11.00 22.00
TOMATO GRAPE R USA 4 9.00 36.00
TOMATO GRAPE YE USA 2 17.00 34.00
LETTUCE . ICEBERG A USA 1 24.00 24.00
ROMAINE CA-A USA 4 18.00 72.00
CAULIFLOWER Cc USA 2 16.00 32.00
FLOWER ORCHID 100 USA 1 23.00 23.00
BROCCOLI CROWN CROW USA 4 14.00 56.00
RABE ANDY USA 1 45.00 45.00
ASPARAGUS LG USA 3 15.00 45.00
CELERY c USA 1 74.00 74.00
SPINACH BABY BA/SP USA 14 6.50 91.00
GREEN LEAF GR USA 1 18.00 18.00
STRINGBEAN BEAN USA 1 16.00 16.00
SNOWPEA A USA 1 20.00 20.00
ALFALFA CUP USA L 12.00 12.00
BRUSSEL SP LOOSE USA 3 43.00 129.00
SHALLOT JAR/5LB SJ#5 USA I 9.50 9.50
RADICCIO.. RD/CO USA 1 12.00 12.00
BABY ARRUGULA B/AR USA 8 10.50 84.00
PARSLEY PLAIN FULL USA 1 28.00 28.00 Total Boxes: 198.0
CILANTRO Cc USA + L700 17.00 Delivery 3 257.40
BEETS 25LB LBAG CAN 2 14.00 28.00
PEPPER GREEN GR USA 2 15.00 30.00 Shipment 3,886.40
PEPPER RED RED USA 3 30.00 90.00 | -----~-- ~~ 3 nnn nn ==
YELLOW PEPPER YELL USA 2 17.00 34.00
JALAPINO JALPN HOL 1 15.00 15.00 Cash Receipt:
CUCUMBER CUM MEX 2 14.00 28.00 | ----------------------~----------~------------
SQUASH GREEN GR USA 1 14.00 14.00
GARLIC JAR JBOX USA 1 30.00 30.00 Signature
SHANGHAT BOKCHOY SH/BK USA 1 24.00 24.00
Printed on Oct 12, 2020 eekke*e Balance : 151,481.40

The perishable agricultural commodities listed on this invoice are sold
commodities act, 1930(7 U.S.C, 499

products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.

subject to the statutory trust authorized by section 5(c) of the perishable agricultural
(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
K&S

Case 1:20-cv-08786-GHW Document 41-3  FitxchO:2/41@)267-2Rage 18 0f23.
INVOICE

347)438-1053

 

 

 

 

 

 

Ship To: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 329027
#100 Broad st
NY, NY 10004 Date 04/19/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
GRANNY SMITH 80 USA 1 38.00 38.00] PEPPER RED RED USA 4 30.00 120.00
STAR RUBY Cc USA 1 28.00 28.00 | YELLOW PEPPER YELL USA 3 16.00 48.00
SEEDLESS GREEN GR USA 1 37.00 37.00 | JALAPINO JALPN HOL 1 15.00 15.00
SEEDLESS RED RED USA 1 24.00 24.00} CUCUMBER CUM MEX 4 18.00 72.00
PEACH COUNT C USA 1 22.00 22.00] SQUASH GREEN GR USA 1 14.00 14.00
KIWI LOOSE LLOO USA 1 20.00 20.00 | SQUASH YELLOW YEL MEX k 15,00 15.00
WATERMELON SEED USA 2 50.00 100.00] GARLIC JAR JBOX USA 1 30.00 30.00
CANTALOUP c USA 1. 27.00 17.00 | SHANGHAI BOKCHOY SH/BK USA 1 26.00 26.00
HONEY DEW Cc USA 1 12.00 12.00 | MUSHROOM WASH 10LB USA 1 17.00 17.00
JUICE ORANGE 100 USA 1 19.00 19.00 | MUSH SPECIAL 10SP USA 4 17.50 70.00
SUNKIST ORANGE 56 USA 2 32.00 64.00] PORTABELLA MUS M PO#2 USA 3 9.50 28.50
LEMON SK SK/L USA 1 30.00 30.00 | EGGPLANT Cc USA 1 13:00 1366
STRAWBERRY CAL USA 10 12.00 120.00]! PoTATO IDAHO 90 USA 2 23.00 46.00
RASPBERRY A USA 10 40.00 400.00} POTATO RED A BOX BOX A USA 1 22.00 22.00
BLUEBERRY A USA 10 17.00 170.00] CARROT LOOSE LOOSE USA 1, 22.00 22.00
BLACKBERRY A USA 4 12.00 48.00] ONION SPANISH SPI USA 2 19.00 38.00
AVOCADO HASS c USA 6 50.00 300.00] ONION RED RD-J USA 2 20.00 40.00
AVOCADO HASS# RIPE MEX 7 52.00 364.00] PINE GOLDEN GOL USA 4 17.00 68.00
PAPAYA RED RIPE RIPE MEX 1 25.00 25.00 | BANANA BNA ECU 3 17.00 51.00
MANGO RIPE M/RIP MEX 15 8.00 120.00] BANANA GREEN GR ECU 2 17.00 34.00
LIME 48 MEX 1 14.00 14.00} MESCLUN SALAD MESC USA 26 7.00 182.00
TOMATO #1 5X6 USA 4 14.00 56.00] EGG EX/LOOSE EXLOO USA 10 22.00 220.00
TOMATO PLUM c MEX 3 15.00 45.00 | MONEY PICK UP sss 0 0.00 0.00
TOMATO CHERRY Cc USA 1 15.00 15.00] SCALLION KING USA 3 11.00 33.00
TOMATO GRAPE R USA 3 9.00 27.00
TOMATO GRAPE YE USA 1 17.00 17.00
TOMATILLO ORG MEX 1 11.00 11.00
LETTUCE . ICEBERG A USA 1 25.00 25.00
ROMAINE CA-A USA 6 18.00 108.00
CABBAGE GR GR USA 1 16.00 16.00
CAULIFLOWER c USA 1 17.00 17.00
BROCCOLI CROWN CROW USA 4 14.00 56.00
RABE ANDY USA 1 40.00 40.00
ASPARAGUS LG USA 5 15.00 75.00
SPINACH BUSH USA 2 16.00 32.00
SPINACH BABY BA/SP USA 18 6.50 117.00
GREEN LEAF GR USA 1 16.00 16.00
GREEN COLLARD COALD USA 1 14.00 14.00 Total Boxes: 239.0
GREEN KALE KALE USA 5 15.00 75.00 Delivery §$ 310.70
STRINGBEAN BEAN USA 1 17.00 17.00
ALFALFA CUP USA L 12,00 12.00 Shipment 4,578.70
BRUSSEL SP LOOSE USA 1 45.00 45.00 | --nn nnn =~ ---- === --------------------------
RADICCIO.. RD/CO USA 1 12.00 12.00
BASIL A USA 1 20.00 20.00 Cash Receipt
BABY ARRUGULA B/AR USA 11 10.50 115.50 | -----------------~------~-~-~---__---_1.-.._--
PARSLEY PLAIN FULL USA 1 28.00 28.00
CILANTRO c USA 2 15.00 30.00 Signature
PEPPER GREEN GR USA 2 15.00 30.00
Printed on Oct 12, 2020 kkkeEKE Balance : 155,367.80

The perishable agricultural commodities listed on this invoice are sol
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these com
products derived from these commodities and any receivables or pro

d subject to the statutory trust authorized by section 5(c) of the perishable agricultural
modities retains a trust claim over these commodities, all inventories of food or other
ceed from the sale of these commodities until full payment is recieved.
Case 1:20-cv-08786-GHW Document 41-3 Filed 02/19/21 Page 19me23 04/26/2019
K&S

22-19 160 Street
Whitestone, NY 11357

 

Telephone : 718)767-2808 Fax: 347)438-1053
Ship To: #1TEB 100 BROAD STREET LLC (ESSEN) From : To:
#100 Broad st
NY, NY 10004 04/21/2019 04/26/2019

212) 943-0100

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Shipped Amont Payment
04/21 Sunday 0.00 0.00
04/22 Monday 0.00 0.00
04/23 Tuesday 3735.60 0.00
04/24 Wednesday 3502.70 0.00
04/25 Thursday 3157.00 0.00
04/26 Friday 2788.60 15658 .20
Shipped Total 13183.90 Paid Total 15658.20
Delivery Charge 0.00 Credit Memo
Credit 0.00 ===
Somme ene en nan ane Date +/- Qty Item Price Amount
Sub-Total (+) 13,183.90 99 -------------------------~+------------------
Prev.Balance(+) 145,456.30 No credit has been recorded
Payment 15,658.20
Current Balance 142,982.00
AR Aging Report Current Balance 142,982.00
Ist Week 13,183.90 Received Amount (- )
2nd Week 3,841.60 This Week Balance
3rd Week & Over 125, 956.50 Received By
Paid By

 

 

 

 

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.

All interest, costs, attorney's fees due seller shall be considered sums owing in connection with this transaction uner the PACA trust.
 

 

 

 

 

K&§ Case 1:20-cv-08786-GHW Document 41-3 Friel O24 Q/2ch okyage 20 of. 23 347)438-1053
INVOICE

ShipTo: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 329090

#100 Broad st

NY, NY 10004 Date 04/23/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
RED EX FANCY 80 USA 1 36.00 30.00] YELLOW PEPPER YELL USA 2 17.00 34.00
GRANNY SMITH 80 USA 2 38.00 76.00 | JALAPINO JALPN HOL 1 16.00 16.00
GALA APPLE 80 USA 1 34.00 34.00 | CUCUMBER CUM MEX 2 17.00 34.00
STAR RUBY c USA 1 32.00 32.00]! SQUASH GREEN GR USA 1 16.00 16.00
SEEDLESS GREEN GR USA 1 42.00 42.00] GARLIC JAR JBOX USA 1 30.00 30.00
SEEDLESS RED RED USA 1 24.00 24.00 | MUSHROOM WASH 10LB USA 1 17.00 17.00
PEACH COUNT Cc USA 1 22.00 22.00 | MUSH SPECIAL 10SP USA 4 17.50 70.00
KIWI LOOSE LLOO USA 1 20.00 20.00} PORTABELLA MUS M PO#2 USA 3 9.50 28.50
WATERMELON SEED USA 1 46.00 46.00 | EGGPLANT c USA 1 17.00 17.00
CANTALOUP c USA 1 19.00 19.00 | EGGPLANT ITALIAN ITAL USA 1 20.00 20.00
JUICE ORANGE 100 USA 3 19.00 57.00] POTATO IDAHO 90 USA 2 23.00 46.00
SUNKIST ORANGE 56 USA 3 32.00 96.00] CARROT LOOSE LOOSE USA 1 22.00 £22.00
LEMON SK SK/L USA 1 32.00 32.00 | ONION SPANISH SPI USA 2 19.00 38.00
STRAWBERRY CAL USA 11 8.00 88.00] ONION RED RD-J USA 2 21.00 42.00
RASPBERRY A USA 7 36.00 252.00] PINE GOLDEN GOL USA 5 17.00 85.00
BLUEBERRY A USA 8 16.00 128.00] BANANA BNA ECU 3 16.00 48.00
BLACKBERRY A USA 3 412.00 36.00] MESCLUN SALAD MESC USA 12 7.00 84.00
AVOCADO HASS c USA 3 49.00 147.00] Ecc EX/LOOSE EXLOO USA 6 20.00 120.00
AVOCADO HASS# RIPE MEX 4 50.00 200.00] YUKON A Box Y ABO USA 1 36.00 36.00
PAPAYA BIG BOX RED MEX 2 25.00 50.00] ORDER PAPER OR/PE Oo 869.00 0.00
MANGO RIPE M/RIP MEX 15 7.00 105.00] SCALLION KING USA 3 11.00 # £33.00
LIME 48 MEX = 2500 15.00
TOMATO #1 5X6 USA 3 13.00 39.00
TOMATO PLUM Cc MEX 1 14.00 14.00
TOMATO CHERRY c USA 1 15.00 15.00
TOMATO GRAPE R USA 1 10.00 10.00
LETTUCE . ICEBERG A USA 1 22.00 22.00
ROMAINE CA-A USA 4 18.00 72.00
CABBAGE GR GR USA 1 16.00 16.00
CAULIFLOWER Cc USA 1 18.00 18.00
BROCCOLI CROWN CROW USA 4 14.00 £56.00
RABE ANDY USA 2 40.00 80.00
ASPARAGUS LG USA 3 17.00 51.00
CELERY Cc USA 2 80.00 160.00
SPINACH BUSH USA 1 16.00 16.00
SPINACH BABY BA/SP USA 10 6.50 65.00
GREEN KALE KALE USA 5 15.00 75.00
STRINGBEAN BEAN USA 1 21.00 21.00 Total Boxes: 187.0
SNOWPEA A USA 1 20.00 20.00 Delivery § : 243.10
ALFALFA CUP USA 1 12.00 12.00
BRUSSEL SP LOOSE USA 2 46.00 92.00| Shipment : 3,735.60
RADICCIO.. RD/CO USA 1 12.00 12.00 | ----------------------------------------------
BASIL A USA 1 20.00 20.00
BABY ARRUGULA B/AR USA 6 10.50 63.00 Cash Receipt:
CILANTRO c USA 1 16.00 16.00 | ----~------------------------------------------
BEETS 25LB LBAG CAN 2 14.00 28.00
PEPPER GREEN GR USA 2 14,00 28.00 Signature :
PEPPER RED RED USA 3 28.00 84.00

 

 

Printed on Oct 12, 2020

*¥exee% Balance : 145,456.30

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S

Case 1:20-cv-08786-GHW Document 41-3 FridO2A giz okyage 21 of 43
INVOICE

347)438-1053

 

 

 

 

 

 

ShipTo: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 329157
#100 Broad st
NY, NY 10004 Date 04/24/2019
Item Type Origin QTY Price _ Amount | Item Type Origin QTY Price Amount
GRANNY SMITH 80 USA 1 38.00 38.00} SHANGHAI BOKCHOY SH/BK USA 1 26.00 26.00
STAR RUBY Cc USA 1 32.00 32.00] MUSHROOM WASH 10LB USA L 27.00 17.00
SEEDLESS RED RED USA 1 24.00 24.00 | MUSH SPECIAL 10SP USA 4 17.50 70.00
PEACH COUNT Cc USA 0 0.00 0.00} PORTABELLA MUS M PO#2 USA 4 9.50 38.00
CANTALOUP Cc USA 1 18.00 18.00 | EGGPLANT ITALIAN ITAL USA 1 20.00 20.00
HONEY DEW CG USA 1 13.00 13.00} POTATO IDAHO 90 USA 2 23.00 46.00
JUICE ORANGE 100 USA 3 19.00 57.00] POTATO RED A BOX BOX A USA 1 22.00 22.00
SUNKIST ORANGE 56 USA 3 32.00 96.00 | CARROT LOOSE LOOSE USA 1. :22.00 22.00
LEMON SK SK/L USA 1 30.00 30.00 | ONION SPANISH SPI USA 2 19.00 38.00
STRAWBERRY CAL USA 6 8.00 48.00 |) ONION RED RD-J USA 2 21.00 42.00
RASPBERRY A USA 4 34.00 136.00] TOFU s USA 1 13.50 13.50
BLUEBERRY A USA 8 14.00 112.00] PINE GOLDEN GOL USA 5B 617.00 85.00
AVOCADO HASS# RIPE MEX 8 49.00 392.00] BANANA BNA ECU 3 16.00 48.00
PAPAYA BIG BOX RED MEX 1 25.00 25.00] YUCA DOM EUC 1 28.00 28.00
MANGO RIPE M/RIP MEX 20 8.00 160.00 | MESCLUN SALAD MESC USA 20 7.00 140.00
TOMATO #1 5X6 USA 1 13.00 13.00] EGG EX/LOOSE EXLOO USA 6 20.00 120.00
TOMATO PLUM € MEX 3 14.00 42.00 | SCALLION KING USA 2 12.00 24.00
TOMATO GRAPE R USA 3 10.00 30.00 | SQUASH BUTTERNUT BUIN USA 1 25.00 25.00
LETTUCE . ICEBERG A USA 1 22.00 22.00
ROMAINE CA-A USA 4 18.00 72.00
CABBAGE GR GR USA 1 15.00 15.00
CAULIFLOWER Cc USA 1 21.00 21.00
BROCCOLI CROWN CROW USA 5 15.00 75.00
RABE ANDY USA 1 40.00 40.00
ASPARAGUS LG USA 3 18.00 54.00
CELERY Cc USA 1 82.00 82.00
SPINACH BUSH USA 1 15.00 15.00
SPINACH BABY BA/SP USA 16 6.50 104.00
GREEN COLLARD COALD USA 1 15.00 15.00
GREEN KALE KALE USA 5 15.00 75.00
STRINGBEAN BEAN USA 1 18.00 18.00
SUGAR SNAPEA SNAP PER 1 36.00 36.00
ALFALFA CUP USA 1 12.00 12.00
BRUSSEL SP LOOSE USA 2 53.00 106.00
SHALLOT JAR/S5LB SJ#5 USA 1 9.50 9.50
BASIL A USA 1 20.00 20.00
BABY ARRUGULA B/AR USA 7 10.50 73.50
PARSLEY PLAIN FULL USA 1 20.00 20.00 Total Boxes: 194.0
CILANTRO Cc USA 1: 25,00 15.00 Delivery $ : #252.,.26
BEETS 25LB LBAG CAN 1 14.00 14.00
PEPPER GREEN GR USA 2 34200 28.00 Shipment : 3,502.70
PEPPER RED RED USA 2 29.00 58.00 | ----------------------------------------------
YELLOW PEPPER YELL USA 2 £7200 34.00
JALAPINO JALPN HOL 1 16.00 16.00 Cash Receipt:
CUCUMBER CUM MEX 3 217.00 B1L.00 | pr rrr rn nnn nn nnn nn nnn nnn nnn
SQUASH GREEN GR USA 1 14.00 14.00
SQUASH YELLOW YEL MEX 1. <F7 00 17.00 Signature :
GARLIC JAR JBOX USA 1 28.00 28.00
Printed on Oct 12, 2020 **e**k* Balance : 149,191.90

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S§$

Case 1:20-cv-08786-GHW_ Document 41-3 FikadeQ29/%4-20age 22 OF.23 347y438-1053
INVOICE

 

 

 

 

 

 

ShipTo: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 329244
#100 Broad st
NY, NY 10004 Date 04/25/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
RED EX FANCY 80 USA 1 30.00 30.00 | POTATO IDAHO 90 USA 3 23.00 69.00
GRANNY SMITH 80 USA 1 38.00 38.00 | CARROT LOOSE LOOSE USA 2 22.00 44.00
STAR RUBY Cc USA 1 32.00 32.00 | ONION SPANISH SPI USA 2 19.00 38.00
SEEDLESS GREEN GR USA 1 43.00 43.00] ONION RED RD-J USA 2 20.00 40.00
SEEDLESS RED RED USA 1 24.00 24.00] PINE GOLDEN GOL USA 4 17.00 68.00
PEACH COUNT Cc USA 0 0.00 0.00 | BANANA BNA ECU 3 16.00 48.00
KIWI LOOSE LLOO USA 1 20.00 20.00 | PLANTAIN YELLOW Cc ECU 1 25.00 25.00
WATERMELON SEED USA 2 46.00 92.00 | CIDER 1/2G USA 1 27.00 27.00
HONEY DEW Cc USA 1 13.00 13.00] MESCLUN SALAD MESC USA 6 7.00 42.00
JUICE ORANGE 100 USA 2 19.00 38.00 | EGG EX/LOOSE EXLOO USA 6 20.00 120.00
SUNKIST ORANGE 56 USA 3 32.00 96.00 | YUKON A BOX Y ABO USA 1 30.00 30.00
LEMON SK SK/L USA 1 30.00 30.00 | SCALLION KING USA z. 122'..00 12.00
STRAWBERRY CAL USA 7 8.00 56.00
RASPBERRY A USA 4 33.00 132.00
BLUEBERRY A USA 6 15.00 90.00
BLACKBERRY A USA 3 11.00 33.00
AVOCADO HASS# RIPE MEX 8 48.00 384.00
PAPAYA RED RIPE RIPE MEX 2 25.00 50.00
MANGO RIPE M/RIP MEX 15 8.00 120.00
TOMATO #1 5X6 USA 2 13.00 26.00
TOMATO PLUM Cc MEX 1 14.00 14.00
TOMATO CHERRY c USA 2 15.00 30.00
TOMATO GRAPE R USA 2 10.00 20.00
TOMATO GRAPE YE USA 1 19.00 19.00
YEIIOW. TOMATO YTO USA 1 34.00 34.00
ROMAINE CA-A USA 3 18.00 54.00
CABBAGE RED RED USA 1 = 30.00 30.00
CAULIFLOWER c USA 2 20.00 40.00
BROCCOLI CROWN CROW USA 4 14.00 56.00
RABE ANDY USA 1 40.00 40.00
ASPARAGUS LG USA 5 £7..00 51.00
SPINACH BUSH USA 1 15.00 15.00
SPINACH BABY BA/SP USA 4 6.50 26.00
GREEN KALE KALE USA 4 15.00 60.00
BRUSSEL SP LOOSE USA 2 56.00 112.00
RADICCIO.. RD/CO USA 1 12.00 12.00
BASIL A USA 1 20.00 20.00
BABY ARRUGULA B/AR USA 6 10.50 63.00 Total Boxes: 155.0
BEETS 25LB LBAG CAN 1 14.00 14.00 Delivery $ : 201.50
PEPPER GREEN GR USA 2 13.00 26.00
PEPPER RED RED USA 3 24.00 72.00 Shipment >: 3,157.00
YELLOW PEPPER YELL USA 2 15.00 30,00 | mom ooe eS eee ee
CUCUMBER CUM MEX 2 17.00 34.00
SQUASH GREEN GR USA 1. 13.00 13.00 Cash Receipt:
GARLIC JAR JBOX USA 1 28.00 28.00 | -oecres sec toa cnt reese sieeeen ss
MUSHROOM WASH 10LB USA 2 17.00 34.00
MUSH SPECIAL 10SP USA 4 17.50 70.00 Signature :
PORTABELLA MUS M PO#2 USA 3 9.50 28.50
Printed on Oct 1 2020 *eeekee Balance : 152,694.60

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section S(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S Case 1:20-cv-08786-GHW Document 41-3 FiladeO2HM9/%b-28MaGe 23 O23 347438 1053

 

 

 

 

 

 

 

INVOICE
ShipTo: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No, 329322
#100 Broad st
NY, NY 10004 Date 04/26/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
GRANNY SMITH 80 USA 2 38.00 76.00] ONION RED RD-J USA 2 19.00 38.00
STAR RUBY Cc USA 1 28.00 28.00 | PINE GOLDEN GOL USA 2 317.00 34.00
PLUM BLACK 1 Cc USA 1 20.00 20.00] BANANA BNA ECU 3 16-200 48.00
WATERMELON SEED USA 2 46.00 92.00] MESCLUN SALAD MESC USA 10 7.00 70.00
CANTALOUP c USA 1 17.00 17.00 | EGG EX/LOOSE EXLOO USA 12 20.00 240.00
HONEY DEW c USA 1 13.00 13.00} HERBS ROSEMARY ROSE CHL 1 7.50 7.50
JUICE ORANGE 100 USA 2 19.00 38.00] MONEY PICK UP $$s 0 0.00 0.00
SUNKIST ORANGE 56 USA 2 32.00 64.00 | SCALLION KING USA L. 22.00 12.00
STRAWBERRY CAL USA 6 7.00 42.00
RASPBERRY A USA 6 26.00 156.00
BLUEBERRY A USA 8 15.00 120.00
BLACKBERRY A USA 2 11.00 # 22.00
AVOCADO HASS# RIPE MEX 8 48.00 384.00
MANGO RIPE M/RIP MEX 10 7.50 75.00
TOMATO #1 5X6 USA 2 412.00 26.00
TOMATO PLUM € MEX 1 13.00 13.00
TOMATO GRAPE R USA 1 10.00 10.00
ROMAINE CA-A USA 3 18.00 54.00
CAULIFLOWER c USA 1 22.00 22.00
FLOWER ORCHID 100 USA oO 0.00 0.00
BROCCOLI CROWN CROW USA 3 14.00 42.00
ASPARAGUS LG USA 3 20.00 60.00
SPINACH BUSH USA 1 14.00 14.00
SPINACH BABY BA/SP USA 5 6.50 32,50
GREEN COLLARD COALD USA 1 25.00 15.00
GREEN KALE KALE USA 3 15.00 45.00
STRINGBEAN BEAN USA 1 23.00 23.00
ALFALFA CUP USA 1 12.00 12.00
BRUSSEL SP LOOSE USA 2 56.00 112.00
RADICCIO.. RD/CO USA 1 11.00 11.00
MINT A USA 1 14.00 14.00
BABY ARRUGULA B/AR USA 5 10.50 52.50
CILANTRO Cc USA 1 15.00 15.00
PEPPER GREEN GR USA 1 14.00 14.00
PEPPER RED RED USA 1 26.00 26.00
YELLOW PEPPER YELL USA 2 16.00 32.00
CUCUMBER CUM MEX 2 18.00 36.00
SQUASH GREEN GR USA 1 13.00 13.00 Total Boxes: 142.0
SQUASH YELLOW YEL MEX 1 20.00 20.00| Delivery $ : 184.60
GARLIC JAR JBOX USA 1 30.00 30.00
SHANGHAI BOKCHOY SH/BK USA 1 28.00 28.00 Shipment : 2,788.60
MUSHROOM WASH 10LB USA 1 17.00 17.00 | mores hese eee eee
MUSH SPECIAL 10SP USA 3 17.50 52.50
PORTABELLA MUS M PO#2 USA 2 9.50 19.00] Cash Receipt:
POTATO IDAHO 90 USA 2 23.00 = 46.00 | mr rr rrr rrr nnn nnn nnn nnn nm
POTATO RED A BOX BOX A USA 1 21.00 21.00
CARROT LOOSE LOOSE USA 2 22.00 44.00 Signature
ONION SPANISH SPI USA 2 18.00 36.00
Printed on Oct 12, 2020 ***e*** Balance : 155,851.60

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 3(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other

products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
